 Case 8:19-cv-01949-MSS-AEP Document 1 Filed 08/07/19 Page 1 of 7 PageID 1



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION
                              CASE NO.

IRONSHORE INDEMNITY INC.,
                 Plaintiff,
vs.
UNITED STATES OF AMERICA,
                  Defendant.
                                               /

                  COMPLAINT - ADMIRALTY & FEDERAL TORT CLAIM

       Plaintiff, Ironshore Indemnity Inc. (“Ironshore”), as subrogee of Yvette Suarez and David

Singletary, for its Complaint against Defendant, United States of America ("United States" or "the

government"), alleges the following:

                                  JURISDICTION AND VENUE

       1. This is an admiralty or maritime claim within the jurisdiction of this Court, and brought

within the meaning and intent of Rule 9(h) of the Federal Rules of Civil Procedure.

       2. This claim is brought against the United States pursuant to General Maritime Law, the

Suits in Admiralty Act, 46 U.S.C. § 30901, et seq., and/or the Public Vessels Act, 46 U.S.C. §

31101, et seq.

       3. In the alternative, this claim is also brought against the United States pursuant to the

Federal Tort Claims Act, 28 U.S.C. § 1346 & 28 U.S.C. Pt.VI Ch.171 (28 U.S.C. §§ 2671, et seq.),

and this Court has original jurisdiction over such claims.

       4. Pursuant to Federal Tort Claims Act, 32 CFR § 750.32 & 28 U.S. Code § 1402 venue

is appropriate in this district because the act or omission complaint of occurred within this district.
 Case 8:19-cv-01949-MSS-AEP Document 1 Filed 08/07/19 Page 2 of 7 PageID 2



        5. Pursuant to the Suits in Admiralty Act, 46 U.S.C. § 30906 and/or the Public

Vessels Act, 46 U.S.C. § 31104, this Court has jurisdiction and the venue is appropriate in

this district because this is the district where the vessel at issue was found after the incident

set forth below.

                                              PARTIES

        6. At all materials times, Ironshore was and now is a corporation duly organized

and existing under and by virtue of the laws of the State of Minnesota, with its principal

place of business located at 28 Liberty Street, 5th Floor, New York, NY 10005.

        7. At all material times, Ironshore’s insureds were Yvette Suarez and David

Singletary (hereinafter collectively “Insured”).

        8. At all materials times, Ironshore provided insurance coverage under a policy of

insurance (hereinafter “the Policy”) to the Insureds for their 2014 Sunstation 34 Foot Vessel

(hereinafter “the Insured Vessel”).

        9. Pursuant to Section F General Conditions, Subsection 15 of the Policy,

Ironshore obtains a right of subrogation for any payments it makes to its Insured under the

Policy for damages caused to the Insured Vessel. This Section of the Policy states:




        10. At all times hereinafter mentioned, the United States, through its agency the

U.S. Coast Guard, installed, operated and maintained an I-Beam located at Coordinates

20.09137 082 50 40 in the waters of Anclote Key, Florida.

                                                   2
 Case 8:19-cv-01949-MSS-AEP Document 1 Filed 08/07/19 Page 3 of 7 PageID 3



         11. At all times hereinafter mentioned, the United States, through its agency the U.S. Coast

Guard, installed, operated and maintained buoys, markers and/or other signs or signals for an I-

Beam located at Coordinates 20.09137 082 50 40 in the waters of Anclote Key, Florida.

         12. At all times hereinafter mentioned, the United States, through its agency the U.S. Coast

Guard, provided alerts, warnings and notices to vessels in the waters of Anclote Key, Florida, as

to obstructions and/or hazards.

                                   COMMON ALLEGATIONS

         14. Plaintiff incorporates all of the preceding paragraphs as though fully set forth herein.

         15. Prior to August 13, 2017, the U.S. Coast Guard installed, operated and/or maintained

an I-Beam located at Coordinates 20.09137 082 50 40 in the waters of Anclote Key, Florida, which

installation, operation and/or maintenance made the I-Beam the responsibility of the U.S. Coast

Guard.

         16. Prior to August 13, 2017, the U.S. Coast Guard installed, reinstalled, operated and/or

maintained markers, buoys and/or other signs or signals for an I-Beam located at Coordinates

20.09137 082 50 40 in the waters of Anclote Key, Florida.

         17. Prior to August 13, 2017, the U.S. Coast Guard provided alerts, warnings and/or notices

to vessels in the waters of Anclote Key, Florida, as to obstructions and/or hazards.

         18. On August 13, 2017, Ironshore’s Insured was operating the Insured Vessel near

Anclote Key, Florida.

         19. On August 13, 2017, while operating the Insured Vessel near Anclote Key, Florida at

Coordinates 20.09137 082 50 40, the Insured’s Vessel impacted, hit, struck and/or came into

contact with a submerged I-Beam (hereinafter the “I-Beam”), which caused the Vessel to sink and

incur total damages and towage charges (hereinafter “the Incident”).



                                                   3
 Case 8:19-cv-01949-MSS-AEP Document 1 Filed 08/07/19 Page 4 of 7 PageID 4



          20. As a result of the Incident, and pursuant to the Policy, Ironshore made payments

to or on behalf of its Insured in the amount of $256,700.00 for damages to the Insured

Vessel and associated towage and storage costs.

          21. Pursuant to the Policy, Ironshore obtained a right of subrogation for any

payments made to the Insured from the Incident.

          22. Ironshore is subrogated to the rights of the Insured under the Policy of insurance

and by operation of law to the extent of its payments and is thus entitled to seek recovery

from Defendant under principles of both equitable and legal subrogation.

          23. On July 1, 2019, Ironshore submitted its subrogation claim from the Incident in

the amount of $256,700.00 to the U.S. Coast Guard, which was acknowledged by email as

received by Jana Leahy, Legal Services Command, with Case No. 18-CL-0331 being

assigned to Ironshore’s claim.

          24. On July 19, 2019, Ironshore received a denial of claim letter from the U.S. Coast

Guard dated July 12, 2019, in which the U.S. Coast Guard stated “The Claim is denied.”

          25. All preconditions to filing this action have been met as Ironshore’s claim was

presented within the applicable time required by the applicable statutes and was then denied

by the U.S. Coast Guard.

                                        CAUSE OF ACTION

          26. Plaintiff incorporates all of the preceding paragraphs as though fully set forth

herein.

          27. At the time of the Incident, the subject I-Beam was submerged under the surface

of the water, such that without appropriate markers, buoys, notices, warnings and/or alerts,

the Insured was unable to know that it was within the path of the Insured Vessel.



                                                    4
 Case 8:19-cv-01949-MSS-AEP Document 1 Filed 08/07/19 Page 5 of 7 PageID 5



        28. At all material times, the subject I-Beam was the property of the United States and/or

the U.S. Coast Guard and/or the I-Beam was under the supervision, direction and/or control of the

United States and/or the U.S. Coast Guard.

        29. Prior to the Incident on August 13, 2017, the U.S. Coast Guard had not removed the

subject I-Beam.

        30. Prior to the Incident on August 13, 2017, the U.S. Coast Guard had not replaced,

reinstalled and/or reattached lost, damaged and/or missing markers, buoys, signs and/or other

signals to mark the location of the subject I-Beam.

        31. Prior to the Incident on August 13, 2017, the U.S. Coast Guard had not provided

adequate and/or updated alerts, warnings and/or notices to vessels, captains, the public and others

using and/or operating vessels in the waters of Anclote Key, Florida, as to obstructions and/or

hazards created by the unmarked I-Beam.

        32. The U.S. Coast Guard's acts and/or omissions relating to the subject I-Beam were

improper, unreasonable, negligent, and wanton and reckless in one or more of the following

particulars:

               a. Failing to properly install, operate and/or maintain the I-Beam;

               b. Failing to provide adequate and/or updated alerts, warnings and/or notices as to

                  obstructions, dangers, and/or hazards created by the I-Beam;

               c. Failing to install, reinstall, operate and/or maintained markers, buoys and/or other

                  signs or signals for the I-Beam;

               d. Allowing an I-Beam it had submerged and/or allowed to be submerged under water

                  to be left in a dangerous and/or hazardous condition;

               e. Failing to properly supervise, direct control over and/or manage the I-Beam;



                                                     5
 Case 8:19-cv-01949-MSS-AEP Document 1 Filed 08/07/19 Page 6 of 7 PageID 6



           f. Failing to maintain the I-Beam; and

           g. Such other and further acts and/or omissions as may be disclosed during discovery.

       33. As a direct and proximate result of the improper, unreasonable, negligent, and wanton

and reckless actions and/or omissions of the U.S. Coast Guard, the Insured’s Vessel was deemed

a total loss and Plaintiff paid the Insured for those total damages and other incurred substantial

damages and towage charges in the total amount of $256,700.00.

                                   PRAYER FOR RELIEF

       WHEREFORE, Ironshore prays for judgment against the United States, as follows:

       1. For damages in an amount to be determined at the time of trial;

       2. For prejudgment and post-judgment interest in an amount allowed by law;

       3. For attorney’s fees and costs and expenses of suit as allowable by law; and

       4. For such other relief as the Court may deem just and proper.


Dated: August 7, 2019                        Respectfully submitted,

                                             COZEN O’CONNOR

                                             By: /s/ Joseph F. Rich
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                                                Counsel for Plaintiff




                                                6
 Case 8:19-cv-01949-MSS-AEP Document 1 Filed 08/07/19 Page 7 of 7 PageID 7



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed

with the Clerk of the Court using CM/ECF on this 7th day of August 2019. I also certify that the

foregoing document is being served this day on all counsel of record identified on the Service List

via transmission of U.S. Mail and/or Notice of Electronic Filing generated by CM/ECF.


                                                     By: /s/ Joseph F. Rich
                                                        Joseph F. Rich, Esq.




                                        SERVICE LIST

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                                                7
